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                           UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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       MGA ENTERTAINMENT, INC.,                   Case No. 2:20-cv-11548-JVS-AGR
  10   a California corporation,
                                                  FINAL JUDGMENT
  11               Plaintiff,
  12         vs.
  13   CLIFFORD “T.I.” HARRIS, an
       individual; TAMEKA “TINY” HARRIS,
  14   an individual; OMG GIRLZ LLC, a
       Delaware limited liability company; and
  15   DOES 1-10, inclusive,
  16               Defendants.
  17   GRAND HUSTLE, LLC, PRETTY                  Judge: Hon. James V. Selna
       HUSTLE, LLC, and OMG GIRLZ LLC,
  18                                              Complaint Filed: December 20, 2020
                   Counter-Claimants,
  19                                              Trial Date: September 3, 2024
             vs.
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       MGA ENTERTAINMENT, INC.,
  21   ISAAC LARIAN, and DOES 1 – 10,
       inclusive,
  22
                   Counter-Defendants.
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   1         This action was tried before a jury and the Court, the Honorable James V. Selna
   2 presiding, between September 3, 2024 and September 23, 2024. On September 23,
   3 2024, the jury returned a verdict in favor of Counter-Claimants Grand Hustle, LLC,
   4 Pretty Hustle, LLC, and OMG Girlz LLC (collectively, “OMG Girlz”) on their claims
   5 against Plaintiff and Counter-Defendant MGA Entertainment, Inc. (“MGA
   6 Entertainment”) and Counter-Defendant Isaac Larian (collectively, “MGA”) for trade
   7 dress infringement under 15 U.S.C. § 1125 and on their claim for misappropriation of
   8 name, likeness, or identity with respect to the seven dolls at issue: Chillax, Roller
   9 Chick, Metal Chick, Bhad Gurl, Prism, Miss Divine, and Runaway Diva. (See Dkt.
  10 1009). The jury further found that eight additional dolls subject only to MGA’s
  11 declaratory judgment claims infringed the OMG Girlz’ trade dress and/or name,
  12 likeness, or identity: Downtown B.B., Punk Grrrl, Virtuelle, Honeylicious, Miss
  13 Independent, City Babe, Shadow (trade dress infringement only), and Miss Glam
  14 (misappropriation of name, likeness, or identity only). (See id.). The Court previously
  15 disposed of the OMG Girlz’ trade dress and misappropriation claims related to other
  16 dolls, as well as other claims asserted by the OMG Girlz, at summary judgment (See
  17 Dkt. 326). Accordingly, pursuant to Federal Rule of Civil Procedure 58, consistent
  18 with this Court’s July 29, 2022 Order Regarding Motion for Summary Judgment (Dkt.
  19 326), the jury’s verdicts (Dkts. 1009 and 1011), this Court’s February 3, 2025 Order
  20 Regarding Post-Trial Equitable Issues (Dkt. 1090), and this Court’s April 15, 2025
  21 Order Regarding Motion for Entry of Judgment and Request for Permanent Injunction
  22 (Dkt. 1113), the Court hereby ENTERS FINAL JUDGMENT as follows:
  23         As to the OMG Girlz’ Third Amended Counterclaims (Dkt. 63) for trade dress
  24 infringement (15 U.S.C. § 1125) and common law misappropriation of name,
  25 likeness, or identity, judgment is entered in favor of the OMG Girlz as to the following
  26 L.O.L. Surprise! O.M.G. dolls: Chillax, Roller Chick, Metal Chick, Bhad Gurl, Prism,
  27 Miss Divine, and Runway Diva.
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   1        As to the OMG Girlz’ Third Amended Counterclaims (Dkt. 63) for (1)
   2 trademark infringement (15 U.S.C. § 1125), (2) statutory misappropriation of name
   3 or likeness (Cal. Civ. Code § 3344), (3) statutory unfair competition (Cal. Bus. &
   4 Prof. Code § 17200, et seq.), and (4) common law unfair competition, judgment is
   5 entered in favor of Counter-Defendants MGA Entertainment and Isaac Larian.
   6        As to MGA’s First Amended Complaint For Declaratory Judgment (Dkt. 16),
   7 judgment is entered in favor of MGA as to the following L.O.L. Surprise! O.M.G. dolls
   8 with respect to trade dress infringement and common law misappropriation of name,
   9 likeness, or identity: Ferocious, Fame Queen, Uptown Girl, Class Prez, Rocker Boi,
  10 Lady Diva, Sweets, Spicy Babe, Miss Royale, B-Gurl, Major Lady, Cosmic Nova,
  11 24K D.J., Snowlicious, Candylicious, Gamma Babe, Moonlight B.B., NYE Queen,
  12 Splash Beauty, Sunshine Gurl, Sways, Crystal Star, Swag, Royal Bee, Neonlicious,
  13 Dollie, Busy B.B., Groovy Babe, Dazzle, Angles, Speedster, Da Boss, Missy Meow,
  14 Alt Grrrl, Big Wig, Camp Cutie, Icy Gurl, Pop B.B., Kitty K, Lonestar, Jukebox B.B.,
  15 Cool Lev, Cheer Diva, Vault Queen, Coastal Q.T., Paradise V.I.P., Coral Waves, Spirit
  16 Queen, Ms. Direct, Magic Starlette, L.O.L. Surprise! O.M.G. Movie Magic Studios
  17 (Agent Glamour and Agent Soul), Tough Dude, Pink Chick, Fly Gurl, Sunset, Miss
  18 Celebrate, Skatepark Q.T., and Trendsetter.
  19        As to MGA’s First Amended Complaint For Declaratory Judgment, judgment
  20 is entered in favor of MGA as to the following L.O.L. Surprise! O.M.G. doll with
  21 respect to trade dress infringement only: Miss Glam.
  22        As to MGA’s First Amended Complaint For Declaratory Judgment, judgment
  23 is entered in favor of MGA as to the following L.O.L. Surprise! O.M.G. doll with
  24 respect to common law misappropriation of name, likeness, or identity only: Shadow.
  25        As to MGA’s First Amended Complaint For Declaratory Judgment, judgment
  26 is entered in favor of the OMG Girlz as to the following L.O.L. Surprise! O.M.G.
  27 dolls with respect to trade dress infringement: Chillax, Roller Chick, Metal Chick,
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   1 Bhad Gurl, Prism, Miss Divine, Runway Diva, Downtown B.B., Punk Grrrl, Virtuelle,
   2 Honeylicious, Miss Independent, City Babe, and Shadow.
   3        As to MGA’s First Amended Complaint For Declaratory Judgment, judgment
   4 is entered in favor of the OMG Girlz as to the following L.O.L. Surprise! O.M.G.
   5 dolls with respect to common law misappropriation of name, likeness, or identity:
   6 Chillax, Roller Chick, Metal Chick, Bhad Gurl, Prism, Miss Divine, Runway Diva,
   7 Downtown B.B., Punk Grrrl, Virtuelle, Honeylicious, Miss Independent, City Babe,
   8 and Miss Glam.
   9        In the Court’s Order Regarding Post-Trial Equitable Issues (Dkt. 1090), the
  10 Court adopted the jury’s disgorgement award of $17,872,253 for MGA’s common
  11 law misappropriation of the OMG Girlz’ name, likeness, or identity. The Court did
  12 not adopt the jury’s disgorgement award under the Lanham Act, and instead awarded
  13 the OMG Girlz no disgorgement of MGA’s profits under the Lanham Act. (Id. at 12).
  14        As to the OMG Girlz’ claim for punitive damages under common law
  15 misappropriation of the OMG Girlz’ name, likeness, or identity the jury found MGA’s
  16 misappropriation was conducted with oppression, fraud, or malice, (Dkt. No. 1009),
  17 and awarded $53,616,759 in punitive damages (Dkt. 1011). The Court found that the
  18 jury’s punitive damages award was binding under Fed. R. Civ. P. 39(c). (Dkt. 1090 at
  19 18–20).
  20        The Court awards the OMG Girlz post-judgment interest on the $71,489,012
  21 judgment at a rate of 3.972% from April 15, 2025, until the date of payment,
  22 compounded annually. (See Dkt. 1113).
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   1        The Court leaves for further later determination of the prevailing party for
   2 purposes of costs, attorney’s fee, and all other post judgment relief.
   3        FINAL JUDGMENT IS SO ENTERED.
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   5 Dated: April 29, 2025
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                                            The Honorable James V. Selna
   9                                        United States District Judge
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                                                                                     FINAL JUDGMENT
